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                  IN THE UNITED STATES DISTRICT COURT
                                                                          FILED
                      FOR THE DISTRICT OF MONTANA                          AUG 15 2017
                           MISSOULA DIVISION                            Clerk, U S District Court
                                                                          D1stnct Of Montana
                                                                                Missoula

 HEATHER PATE,                                       CV 17-75-M-DLC

               Plaintiff,
                                                           ORDER
         vs.

 SUTHERN BATES and AMERICAN
 NATIONAL PROPERTY AND
 CASUALTY COMPANY,
 Individually,

               Defendants.

       Pursuant to the parties Stipulation for Dismissal with Prejudice (Doc. 19),

advising that parties have reached a comprehensive, final, and irrevocable

settlement of the above-entitled case, and for good cause shown:

       IT IS ORDERED, the above-entitled action is DISMISSED WITH

PREJUDICE, with each party to bear their own fees and costs.

       IT IS FURTHER ORDERED that the Clerk of Court is instructed to CLOSE

this case.

       DATED this     I S~ay of August, 20

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                                       Dana L. Christensen, Chief Judge
                                       United States District Court
